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  6
                                UNITED STATES BANKRUPTCY COURT
  7
                                NORTHERN DISTRICT OF CALIFORNIA
  8

  9
       In re:                                           )    Chapter 7
 10                                                     )
       Sage Human Capital, LLC,                         )    Case No. 18−31038 HLB 7
 11                Debtor.                              )
                                                        )    EX PARTE APPLICATION BY
 12                                                     )    DEBTOR FOR AN EXTENSION OF
                                                        )    TIME TO FILE DOCUMENTS
 13                                                     )
                                                        )    Judge Blumenstiel
 14                                                     )    Location: US Bankruptcy Court, 450
                                                        )    Golden Gate Ave, 16th Floor, Courtroom
 15                                                     )    19, San Francisco, CA 94102
                                                        )
 16                                                     )
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 19                                                     )
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 20
                Debtor Sage Human Capital, LLC, through its counsel, hereby moves this Court for an
 21
      extension of time to file the required schedules of assets and liabilities (Schedules A through H);
 22
      income and expenses (Schedules I and J); the Summary of Schedules; Statistical Summary of
 23
      Certain Liabilities; Declaration Concerning Debtor’s Schedules; Statement of Financial Affairs;
 24

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  1   Chapter 7 Statement of Your Current Monthly Income (122A−1); and Chapter 7 Means Test

  2   Calculation (122A−2). This case was filed on September 21, 2018.

  3          The Debtor makes this motion pursuant to Federal Rules of Bankruptcy Procedure, Rule

  4   1007(c), which provides that an extension of time for filing schedules and statements may be

  5   granted on motion for cause shown and on notice to the United States Trustee and the committee

  6   elected under Section 705 or appointed under Section 1102 of the Code, trustee, examiner, or other

  7   party as the Court may direct.

  8          The Debtor is also a defendant in the matter of Jordan Phoenix vs. Sage Human Capital,

  9   LLC, case number 16-CIV-02683, pending in the Superior Court of California, County of San

 10   Mateo. Plaintiff seeks damages in an amount “according to proof.” The Debtor therefore needed to

 11   file for bankruptcy protection.

 12          On September 24, 2018, the Court ordered that the failure to file the aforementioned

 13   schedules, statements, and other required documents within 14 days of September 21, 2018, may

 14   result in the dismissal of the Debtor’s case (doc #3). The Debtor, however, needed to file for

 15   bankruptcy protection due to State Court litigation, and therefore needs more time to gather

 16   information and documentation necessary to complete the aforementioned schedules, statements,

 17   and other required documents.

 18          Notice of this Motion has been given to the United States Trustee and to Janina M. Hoskins,

 19   Chapter 7 Trustee. WHEREFORE, the Debtor moves the Court to enter an order granting an

 20   extension of time to October 22, 2018 for the filing of the aforementioned schedules, statements,

 21   and other required documents.

 22   Dated: October 2, 2018                                        Respectfully submitted,
                                                                    /s/ Kendall Coffman
 23                                                                 Debtor’s counsel

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